






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00245-CV






In re EnerVest Operating, L.L.C.






ORIGINAL PROCEEDING FROM LEE COUNTY





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Relator EnerVest Operating, L.L.C. (EnerVest), has filed a petition for writ of
mandamus seeking to vacate an April 12, 2012, order of the district court denying EnerVest a
motion&nbsp;for continuance of a trial currently set to begin on May 7, 2012.  EnerVest cites the pendency
of an interlocutory appeal in which it challenges the district court's denial of EnerVest's motion
to&nbsp;compel arbitration in the underlying proceeding.  In that interlocutory appeal, cause number 03-11-00823-CV, EnerVest has also filed an emergency motion for temporary relief that seeks to stay
the same trial setting pending our disposition of the appeal.  By separate order, this Court has granted
EnerVest's emergency motion in cause number 03-11-00823-CV and stayed the trial pending
our&nbsp;disposition of that appeal.  See EnerVest Operating, L.L.C. v. Mollett, No. 03-11-00823-CV
(Tex. App.--Austin April 27, 2012) (per curiam order).  Because that order affords EnerVest the
same relief it seeks by mandamus here, we dismiss its petition as moot.


Before Chief Justice Jones, Justices Pemberton and Rose

Filed:   May 1, 2012


